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                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA


Jamie Huber,                                  ) Case No: 2:20-cv-4607
                                              )
               Plaintiff,                     )
       vs.                                    )
                                              )
Experian Information Solutions, Inc.; ARS     )
Account Resolution Services,                  )
                                              )
               Defendants.                    )
                                              )


                            PRAECIPE TO ISSUE ALIAS SUMMONS

TO THE CLERK OF THE COURT:

       On August 30, 2021, the undersigned submitted an amended Complaint with an Amended

Caption in accordance with the Court’s Order. [ECF 8]. Accordingly, counsel for Plaintiff is

respectfully requesting the Clerk to issue an alias summons to Plaintiff so that Plaintiff may re-

serve Defendant in accordance with the Court’s order.


Dated: August 31, 2021
                                             Respectfully Submitted,


                                             /s/ Nicholas Linker
                                             Nicholas Linker, Esq.
                                             Zemel Law LLC
                                             660 Broadway
                                             Paterson, New Jersey 07514
                                             (Tel): 862-227-3106
                                             nl@zemellawllc.com
                                             Attorney for Plaintiff
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on August 31, 2021, a true and correct copy of the foregoing document

was e-filed via the Court’s ECF System with a copy electronically sent to all counsel of record.


                                                                      /s/ Nicholas Linker
                                                                      Nicholas Linker, Esq.




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